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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
                                   ______

CHRISTIEN D. MARTIN,

                     Plaintiff,                Case No. 1:24-cv-174

v.                                             Honorable Phillip J. Green

MICHIGAN DEPARTMENT OF
CORRECTIONS, et al.,

                     Defendants.
____________________________/

                                    JUDGMENT

        In accordance with the opinion issued this date:

        IT IS ORDERED that Plaintiff’s federal claims are DISMISSED WITH

PREJUDICE for failure to state a claim pursuant to 28 U.S.C. §§ 1915(e) and 1915A,

and 42 U.S.C. § 1997e(c).

        IT IS FURTHER ORDERED that Plaintiff’s state law claims are

DISMISSED WITHOUT PREJUDICE because the Court declines to exercise

supplemental jurisdiction over such claims.



Dated: May 22, 2024                            /s/ Phillip J. Green
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge
